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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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  11 8TH WONDER PICTURES, LLC, a              Case No.: 2:21-cv-02463-DSF-JEM
     Delaware limited liability company,
  12                                          STIPULATED JUDGMENT BY
                   Plaintiff,                 CONSENT AS TO LOCK THE
  13                                          DOOR, LLC AND CLEAR
           vs.                                HORIZON ENTERTAINMENT LLC
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     LOCK THE DOOR, LLC, a California
  15 limited liability company; CLEAR
     HORIZON ENTERTAINMENT LLC, a
  16 Wyoming limited liability company;
     DAVID RAYMOND BROWN a/k/a
  17 DAVID BROWN and a/k/a DAVID
     BROWN LEVY; and JULIAN
  18 RAYMOND a/k/a JULES RAYMOND,
  19              Defendants.
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       STIPULATED JUDGMENT BY CONSENT AS TO LOCK THE         Case No. 2:21-cv-02463-DSF-JEM
       DOOR, LLC AND CLEAR HORIZON ENTERTAINMENT LLC
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   1         After considering the Stipulation of Plaintiff 8th Wonder Pictures, LLC, on the
   2 one hand, and Defendants Lock the Door, LLC and Clear Horizon Entertainment
   3 LLC (collectively, “Defendants”), on the other hand (collectively, the “Parties”), and
   4 for good cause appearing,
   5         IT IS HEREBY ORDERED:
   6         1.    That judgment be entered in this action in favor of 8th Wonder Pictures,
   7 LLC against Lock the Door, LLC and Clear Horizon Entertainment LLC, jointly and
   8 severally, for $3,250,000.00 pursuant to the Parties’ settlement of this action.
   9         2.    That the Parties shall be subject to the jurisdiction of this Court, and this
  10 Court shall retain jurisdiction over this action, in connection with any matter relating
  11 to or arising out of the enforcement of the Parties’ settlement in this action and the
  12 terms of this Judgment.
  13         3.    This Judgment shall be final for all purposes. Pursuant to Defendants’
  14 waiver in the Stipulation for Entry of this Judgment, Defendants, and each of them,
  15 shall not be permitted to an appeal or any other review of this Judgment, including
  16 findings of fact or conclusions of law, or any other rights and remedies that
  17 Defendants, and each of them, may now or at any time hereafter have to attack this
  18 Judgment.
  19         IT IS SO ORDERED.
  20   DATED: February 24, 2023
  21                                          Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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       STIPULATED JUDGMENT BY CONSENT AS TO LOCK THE               Case No. 2:21-cv-02463-DSF-JEM
       DOOR, LLC AND CLEAR HORIZON ENTERTAINMENT LLC
